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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 IN RE APPLICATION OF USA PURSUANT                       ML No. 19-ml-819
 TO 18 U.S.C. 3512 FOR 2703(d) ORDER FOR
 ONE DOMAIN NAME SERVICED BY                             Filed Under Seal
 ENOM, LLC



                                              ORDER

       The United States has submitted an application pursuant to 18 U.S.C. §§ 2703(d) and

3512(a), and the Agreement between the United States of America and the Republic of Poland

on the Application of the Treaty between the United States of America and the Republic of

Poland on Mutual Legal Assistance in Criminal Matters signed 10 July 1996, pursuant to Article

3(2) of the Agreement on Mutual Legal Assistance Between the United States of America and

the European Union signed at Washington 25 June 2003, Pol.-U.S., June 9, 2006, S. TREATY

DOC. NO. 109-13 (2006), requesting that the Court issue an Order requiring Enom, LLC

(“PROVIDER”), an electronic communication service and/or a remote computing service

provider located in Kirkland, Washington, to disclose the records and other information

described in Attachment A to this Order.

       The Court finds that the United States has offered specific and articulable facts showing

that there are reasonable grounds to believe that the records or other information sought are

relevant and material to an ongoing criminal investigation. Furthermore, the Court determines

that there is reason to believe that notification of the existence of this Order will seriously

jeopardize the ongoing investigation, including by giving targets an opportunity to flee or
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continue flight from prosecution and destroy or tamper with evidence. See 18 U.S.C.

§ 2705(b)(2)-(3), (5).

        IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. §§ 2703(d) and 3512(a), that

PROVIDER shall, within ten days of receipt of this Order, disclose to the United States the

records and other information described in Attachment A to this Order.

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 2705(b) and 3512(a), that

PROVIDER shall not disclose the existence of the application of the United States or this Order

of the Court to any other person (except attorneys for PROVIDER for the purpose of receiving

legal advice) for a period of two years (commencing on the date of this Order), unless the period

of nondisclosure is later modified by the Court.

        IT IS FURTHER ORDERED that the Application and this Order are sealed until

otherwise ordered by the Court, except that the United States may disclose the existence and/or

contents of the Application and this Order to appropriate foreign and domestic law enforcement

authorities.
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Date                                                        United States Magistrate Judge




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                                        ATTACHMENT A

I.     The Account

       The Order applies to certain records and information for any Enom, LLC (“PROVIDER”)

account associated with the following identifier:

       hltec-th.com,

and any preserved data and/or preservation numbers associated therewith.

II.    Records and other information to be disclosed

       A. Information about the customer or subscriber of the Account

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

“Account”) constituting information about the customer or subscriber of the Account:

       1.    Names (including subscriber names, user names, and screen names);

       2.    Addresses (including mailing addresses, residential addresses, business addresses,
             and e-mail addresses);

       3.    Local and long distance telephone connection records;

       4.    Records of session times and durations, and the temporarily assigned network
             addresses (such as Internet Protocol (“IP”) addresses) associated with those sessions;

       5.    Length of service (including start date) and types of service utilized;

       6.    Telephone or instrument numbers (including MAC addresses);

       7.    Other subscriber numbers or identities (including the registration IP address),
             including any current or past accounts linked to the Account by telephone number,
             recovery or alternate e-mail address, IP address, or other unique device or user
             identifier; and

       8.    Means and source of payment for such service (including any credit card or bank
             account number) and billing records.
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       B. All records and other information relating to the Account (except the contents of
          communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the time period from February 8, 2016, to and including May 4,

2016, constituting all records and other information relating for the Account (except the contents

of communications), including:

       1.    Records of user activity for each connection made to or from the Account, including
             log files; messaging logs; the date, time, length, and method of connections; data
             transfer volume; user names; and source and destination IP addresses; and

       2.    Information about each electronic communication sent or received by the Account,
             including the date and time of the communication, the method of communication,
             and the source and destination of the communication (such as source and destination
             e-mail addresses, IP addresses, and telephone numbers), and any other associated
             header or routing information.




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